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                        UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

UNITED STATES OF AMERICA                      §
                                              §
VS.                                           §       CAUSE NO. H-15-CR-301
                                              §
YANNA GASSAWAY                                §
    aka YANNA NORRIS                          §       JUDGE KEITH P. ELLISON
    aka CUMILLE GASSAWAY                      §
    aka CUMILE NORRIS                         §
          Defendant                           §

                           PRESENTENCE MEMORANDUM
       COMES NOW, defendant, Yanna Gassaway and files this presentence

memorandum asking for this court’s mercy and for a variance in accordance with United

States v. Booker and in support shows the court the following:

                              Trial Court Finding of Guilty

       When Ms. Gassaway arrived in Houston for her trial, she was under the

impression that she would have a jury trial, however, on advice of counsel, with whom

she had done little preparation, the case was heard before this court and she was found

guilty. While Ms. Gassaway disagrees with the finding of guilt, she fully understands

why the court found her guilty and asserts that under the presentation and defense

presented, this court had little choice but to find her guilty. Ms. Gassaway, not wanting

to jeopardize any appellant rights, however, after reflection and consideration of the trial

understands the finding.

                                Family Life and Children

       Ms. Gassaway’s family situation as included in the probation report gives a fair

picture. She has always been supported by and supported her children. She has
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encouraged them to do what is right and feels devastated that they have to see their

mother facing such drastic consequences. Her youngest child still resides with her and

they provide mutual support. Another child, her 24 year old resides with her as well.

                               Purpose of the Money Received

           Mr. Billy Wilson wired the money to Ms. Gassaway’s attorney and she thought

the money was her fee for services rendered. She never had met Kenneth Wayne Davis,

the party who forwarded the counterfeit check and had no knowledge that he had

deposited a counterfeit check. When Mr. Wilson testified that the money was to be

invested, Ms. Gassaway was shocked. Certainly, whatever service she was providing

was not being done without compensation. What was to be her compensation in this

matter? In hindsight, Ms. Gassaway feels that her testimony would have added clarity

and rebutted Mr. Wilson’s testimony but as the court is aware she was not called to

testify.

                                    Request for Departure

           Yanna Gassaway asks this court for a variance or departure to sentence her at a

lower range than what the sentencing guidelines would impose and asserts the following

to support that request.

           (1)    Yanna Gassaway, defendant, believes that a careful examination of all of

the facts and circumstances developed in this investigation show mitigating

circumstances which suggest that a departure from the sentencing guidelines, or a

variance in accordance with United States v. Booker, would be appropriate.

           (2)    Defendant believes that a departure or variance should be granted because
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of her physical condition in that Ms. Gassaway suffers from a severe case of sickle cell

anemia that requires constant hospitalizations for blood transfusions. Without these

transfusions, she will not be able to maintain and if imprisoned will be a severe burden on

the system. Previously, the defendant has presented medicals to the court to support the

illness for which she suffers. The condition is a lifelong illness. So, Ms. Gassaway

agrees with the probation’s point that her health may warrant a variance or departure in

this matter.

     Probation says in its PSR:

”Pursuant to USSG § 5H1.4, if the defendant’s physical condition, individually or in
combination with other offender characteristics, is present to an unusual degree and
distinguishes the case from the typical cases covered by the guidelines a downward
departure may be appropriate. The defendant suffers from sickle beta thalassemia, a rare
form of sickle cell disease. This condition is lifelong and requires her to undergo blood
transfusions on a regular basis. Further, the defendant has been diagnosed with multiple
arteriovenous malformations, an abnormal connection between arteries and veins that
bypass the capillary system. This vascular anomaly can cause intense pain or bleeding.
In September 2018, the defendant underwent an endoscopic procedure to repair a
bleeding blood vessel in her abdomen. The defendant stated she continues to experience
some pain from the procedure but has otherwise recovered. The defendant reported she
is prescribed the following medications to treat her medical conditions and the manage
the pain associated with those conditions: Ondansetron, Tranexamic acid, Cirprofaxacin,
Albuterol sulfate inhaler, Metoclopramide, and Hydrocodone.”

        This condition is irreversible, impacts the defendant’s ability to function, and

makes it difficult for defendant navigate life at times.

       (3)     As the presentence report shows, Ms. Gassaway has very little previous

criminal history and is not a threat to participate in anything like this again. Therefore,

she believes, that a variance or departure would be in the best interests of justice.

       (4)     Ms. Gassaway also feels that a variance or departure would be appropriate

considering the fact that it appears that Mr. Kenneth Wayne Davis, who was the

individual who deposited a counterfeit check into his Bank of America account has never
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been charged at all. No evidence showed that Ms. Gassaway knew Mr. Kenneth Wayne

Davis at all. According to the government, Mr. Billy Wilson obtained the assistance of

Kenneth Wayne Davis to be an investor.

       WHEREFORE, PREMISES CONSIDERED, Ms, Gassaway asks the court to

grant a variance or departure as raised by probation because of her severe health

condition and defendant prays that the court will grant the variance requested in this

motion.

                                                                    Respectfully Submitted
                                                                           Troy J Wilson
                                                                            Troy J Wilson
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                               CERTIFICATE OF SERVICE

       I certify that a copy of this motion has been served on the assistant United States

attorney in charge of this matter on this 20th day of February, 2019.

                                       Troy J Wilson
                                        Troy J Wilson
